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IN THE UNI'I`ED S'I`A'I`ES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division

MICHELLE C. WHITTINGHAM, et al.,
Plaintiffs,

v. Civil Action No. 3:17-cv-720-JAG

BLUEVINE CAPITAL, INC., et al.,
Defendants.

OPINION
This matter comes before the Court on the plaintiffs’ motions for default judgment and
permanent injunction against the defendant Ram Capital Funding, LLC (“Ram”).' The
plaintiffs2 filed their complaint on OCtober 26, 2017, and served Ram on November 6, 2017,
Ram did not respond. In their complaint, the plaintiffs assert three counts: (l) declaratory
judgment, (2) injunctive relief, and (3) negligence.3 The Clerk entered default on January 3,
2018, and the plaintiffs moved for default judgment and a permanent injunction on August 15,

2018.

 

' The plaintiffs also named the following parties as defendants: Rapid Finance Services; Daka
Capital Group, Inc.; Midnight Advance, LLC; Small Business Capital Solutions, LLC; and Blue
Vine Capital, Inc. The Clerk entered an order of abatement and dismissed without prejudice
Daka Capital Group, Inc. (Dk. No. 75.) The Court dismissed with prejudice Rapid Finance
Services; Midnight Advance, LLC; Small Business Capital Solutions, LLC; and Blue Vine
Capital, Inc. (Dk. Nos. 68, 80, 82.) Accordingly, Ram remains the sole defendant in this case.

2 The plaintiffs include Michelle C. Whittingham; Tony Whittingham, Jr.; Diversity Resiclential
Homes, Inc.; Diversity Training and Support Center, LLC; Diversity Administrative Services
LLC; Diversity Employment Opportunities, LLC; Diversity In-Home Supports, LLC; Diversity
Properties, LLC; Diversity Real Estate, LLC; Diversity Transportation, LLC; Diversity
International Charities, Inc.; 8424 Hull Street Road, LLC; BPG Legacy Properties, LLC; and
Garden Ridge LLC. '

3 The Court will not address the plaintiffs’ negligence claim. Although the plaintiffs request
$450,000 in damages in their Complaint, the plaintiffs state in their memorandum in support of
their motion for default judgment and a permanent injunction that “the amount of money
potentially involved . . . is non-existent,” and that they “only seek a declaration that the Ram
Agreement is unenforceable and injunctive relief prohibiting Defendant Ram from enforcing the
Ram Agreements.” (Pls.’ Mem. Supp. Mot. Default J., at 9.)

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I. DECLARATORY JUDGMENT

The plaintiffs seek a judgment declaring that a contract that Ricketa Reed-Harrington,
their former employee, fraudulently executed with Ram (the “Ram Agreement”) is void. Under
Rule 55(b), when a defendant defaults, he admits the well-pleaded factual allegations in the
complaint. Fed. R. Civ. P. 55(b). Thus, in reviewing a motion for default judgment, courts
accept plaintiffs’ well-pleaded allegations regarding liability as true. Ryan v. Homecomings Fin.
Network, 253 F.3d 778, 780 (4th Cir. 2001). Courts must then determine whether the allegations
support the relief sought. Id. Because the defendant defaulted when it failed to respond, the
Court accepts the plaintiffs’ well-pleaded allegations regarding their request for a declaratory
judgment,

The Declaratory Judgment Act gives courts the discretion to “declare the rights and other
legal relations of any interested party seeking a declaration.” 28 U.S.C. § 2201(a). For a court to
issue a declaratory judgment, “it must appear that there is an actual controversy between the
parties.” See Tiger Fibers, LLC v. Aspen Specially Ins. Co., 594 F. Supp. 2d 630, 653 (E.D. Va.
2009). “An actual controversy must be one that is justiciable, meaning a controversy in which
there are specific adverse claims, based upon present rather than future or speculative facts that
are ripe for judicial adjustment.” Id.

In this case, the plaintiffs have alleged “speciflc adverse claims” against Ram. Tz'ger
Fibers, 594 F. Supp. 2d at 653. The plaintiffs allege that the Ram Agreement is unenforceable
because the parties did not mutually assent to the Ram Agreement. For an agreement to be
enforceable, the parties must mutually assent to its terms. See Cyberlock Consulting, Inc. v. Inj?).
Experts, Inc., 939 F.Supp. 2d 572, 578 (E.D. Va. 2013). The plaintiffs assert that no mutual

assent exists in this case because Reed-Harrington fraudulently entered into the Ram Agreement

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without their knowledge. The Court accepts the plaintiffs’ allegations as true. See Ryan, 253
F.3d at 780. Accordingly, the Court will declare the Ram Agreement void and unenforceable
II. PERMANENT INJUNCTION

The plaintiffs seek a permanent injunction prohibiting the defendant from enforcing the
Ram Agreement. See Toolche)r, Inc. v. Trainor, No. 3:08-cv-236, 2009 WL 2244486, at *2
(E.D. Va. July 24, 2009). Plaintiffs seeking a permanent injunction must establish (l) the
remedies available at law, such as monetary damages, are inadequate compensation for the injury
suffered; (2) the movant suffered irreparable harm; (3) the balance of equities tips in the
movant's favor; and (4) the injunction is in the public interest. eBay, Inc. v. MercExchange,
LLC, 547 U.S. 388, 391 (2006).

The plaintiffs have established the requirements for a permanent injunction. First,
monetary damages are inadequate compensation because Ram could try to enforce the Ram
Agreement at any time. Second, the plaintiffs would suffer irreparable harm in the absence of an
injunction because enforcement of the Ram Agreement would damage the plaintiffs’ “flnancial
stability, reputation and creditworthiness.” (Compl. jr 86.)

With respect to the third factor, courts must weigh the effects on each party of granting or
withholding the requested relief. Wimer v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 24 (2008).
This entails balancing the harm the movant established under the second factor, with any harm
the non-movant would suffer if the court granted the injunction. Manning v. Hunt, 119 F.3d 254,
263 (4th Cir. 1997). The harm to the plaintiffs outweighs any harm to Ram. The plaintiffs never
authorized Reed-Harrington to execute the Ram Agreement and had no knowledge of the
agreement Moreover, Ram executed the Ram Agreement with Reed-I~Iarrington without

verifying her identity. Finally, an injunction serves the public interest because it deters lenders

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from collecting on fraudulently executed contracts. The Court, therefore, will grant the
plaintiffs’ motion for a permanent injunction.
III. ATTORNEYS’ FEES AND COSTS

In the plaintiffs’ motion for default judgment, they ask the Court to award “reasonable
attomeys’ fees and costs.” (Mot. Default J., at 3.) The plaintiffs, however, do not state the
amount of attomeys’ fees or provide any documentation to support their request.

federal Rule of Civil Procedure 54 requires that “request[s] for attomey’s fees [] be made
by motion.” Fed. R. Civ. P. 54(d)(2)(A). Movants must also “state the amount sought or
provide a fair estimate of it.” Fed. R. Civ. P. 54(d)(2)(B)(iii). Here, the plaintiffs “failed to
make a proper plea for attomey’s fees.” See Havemann v. Colvin, 537 F. App’x 142, 149 (4th
Cir. 2013). The plaintiffs state that they seek reasonable attomeys’ fees and costs, but do not
state the amount they seek or provide a fair estimate of it. Because the plaintiffs “failed to make
a proper plea for attomey’s fees” under Rule 54, the Court declines to award attorney’s fees and
costs. Id.

IV. CONCLUSION

For the reasons stated in this Opinion, the Court will grant the plaintiffs’ motion for
default judgment and permanent injunction, but will decline to award attomeys’ fees and costs.
The Court will also enjoin Ram from enforcing the Ram Agreement.

The Court will enter an appropriate Order.

Let the Clerk send a copy of this Opinion to all counsel of record.

 

Date: 12 Dec.2018 ]S/ 4 /,

Richmond’VA - John A. Gibney,.lr. /
United States Dis ct u ge

 

 

 

